            Case 22-33553 Document 1008 Filed in TXSB on 01/09/25 Page 1 of 2




                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION
In re:                                                §
                                                      §   Chapter 7
ALEXANDER E. JONES,                                   §
                                                      §   Case No. 22-33553
                  Debtor.                             §
                                                      §
                                                      §

                     NOTICE OF HEARING ON THE TRUSTEE’S EXPEDITED MOTION
                TO EXTEND DEADLINE TO ASSUME OR REJECT UNDER SECTION 365(D)(1)
                                 [This relates to Docket No. 1006]

               PLEASE TAKE NOTICE that a hearing on the Trustee’s Expedited Motion to Extend Deadline

     to Assume or Reject under Section 365(D)(1) [Dkt. 1006] has been scheduled for January 13, 2025

     at 11:00AM (Central Standard Time) before the Honorable Christopher M. Lopez, United States

     Bankruptcy Judge, Courtroom 401, 515 Rusk, Houston, TX 77002.


               This is a hybrid hearing. Parties may participate and attend this hearing remotely by

     telephone and video conference or in-person. Audio for remote participation is conducted by

     phone, Dial-in Number: 832-917-1510, Conference ID: 590153. Audio connection by phone is

     required for all video participants. Video participation is conducted through GoToMeeting at:

     https://www.gotomeet.me/JudgeLopez.


               Additional instructions, rules, and/or procedures on participation may be found on the

     Court’s     homepage     at:   https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-

     christopher-m-lopez.
       Case 22-33553 Document 1008 Filed in TXSB on 01/09/25 Page 2 of 2




Dated: January 9, 2025                               Respectfully submitted,

                                                     /s/Jacqueline Q. Chiba
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                                                     Counsel for Christopher Murray,
                                                     Chapter 7 Trustee


                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 9, 2025 a copy of the foregoing notice was served on all
parties registered for and entitled to electronic notice in this case through CM/ECF and/or by U.S.
First Class Mail, postage pre-paid, on parties listed in the Debtor’s mailing matrix.

                                                      /s/Jacqueline Q. Chiba
                                                     Jacqueline Q. Chiba
